                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE                )
 KANE, JASON YEPKO, GUN                   )
 OWNERS OF AMERICA, INC.,                 )
 GUN OWNERS FOUNDATION,                   )
 GRASS ROOTS NORTH                        )
 CAROLINA, and RIGHTS WATCH               )
 INTERNATIONAL,                           )
                                          )
                      Plaintiffs,         )
                                          )        MOTION TO DISMISS
 v.                                       )
                                          )
 SHERIFF GARRY MCFADDEN, in               )
 his official capacity as Sheriff of      )
 Mecklenburg County, and the              )
 MECKLENBURG COUNTY                       )
 SHERIFF’S OFFICE                         )
                                          )
                      Defendants.         )
                                          )
                                          )
                                          )


       Defendants Sheriff Garry McFadden and Mecklenburg County Sheriff’s

Office move to dismiss Plaintiffs’ Complaint for lack of subject matter jurisdiction

and failure to state a claim upon which relief can be granted pursuant to

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). This Motion is based

upon the accompanying Brief, and court file in this action.


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WBD (US) 60381526v1
       Respectfully submitted this 6TH day of February, 2023.

                                      /s/Sean F. Perrin
                                      Sean F. Perrin
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                                      /s/J. George Guise
                                      J. George Guise
                                      N.C. State Bar No. 22090
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                                      Attorneys for Defendants Sheriff Garry
                                      McFadden and Mecklenburg County
                                      Sheriff’s Office




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